Case 2:22-cv-04646-MRA-KES Document 44 Filed 05/31/24 Page 1 of 1 Page ID #:197



   1
   2                                                                    JS-6
   3
   4
   5
   6
   7
   8                           UNITED STATES DISTRICT COURT
   9                         CENTRAL DISTRICT OF CALIFORNIA
 10
 11    JAMAR LAVELL MANARD,                        Case No. 2:22-cv-04646-MRA-KES
 12                   Plaintiff,
 13          v.                                              JUDGMENT

 14    CSP LAC, et al.,
 15                   Defendants.
 16
 17          Pursuant to the Court’s Order Dismissing Action with Prejudice for Lack of
 18    Prosecution,
 19          IT IS HEREBY ADJUDGED that this action is dismissed with prejudice.
 20
 21
 22    DATED: May 31, 2024                  ____________________________________
 23                                         MONICA RAMIREZ ALMADANI
                                            UNITED STATES DISTRICT JUDGE
 24
 25
 26
 27
 28

                                               1
